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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )          CIVIL ACTION NO.
     v.                             )            2:14cv601-MHT
                                    )                 (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
     Defendants.                    )

 PHASE 2A ORDER AND INTERIM INJUNCTION WITH REGARD TO
      THIRTEEN STIPULATIONS AND ASSOCIATED ORDERS

    This    court      previously       found,    based      on     a     joint

agreement    of    the   parties,       that     13   of    the     parties’

stipulations, separately and in conjunction with all

other relief so far in this case, temporarily met the

requirements      of     the   Prison      Litigation            Reform    Act

(PLRA),     18    U.S.C. § 3626(a)(1)(A).                  See     Phase     2A

Opinion and Interim Injunction With Regard to Eleven

Joint Stipulations (doc. no. 2716); Phase 2A Opinion

and Interim Injunction with Regard to Stipulation on
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Provision of Hospital-Level Care (doc. no. 2717); Phase

2A    Opinion      and     Interim       Injunction        with   Regard    to

Stipulation        on     Mental-Health          Consultation         to   the

Disciplinary Process (doc. no. 2718).                       As a result of

this temporary finding, the court continued an upcoming

in-person evidentiary hearing on the PLRA to allow the

parties to continue negotiations on the matter.                            See

Phase 2A Opinion and Interim Injunction With Regard to

Eleven Joint Stipulations (doc. no. 2716).

      Those negotiations were not successful.                      See Joint

Notice Regarding Monitoring and PLRA Negotiations (doc.

no. 2775) (“[T]he Parties hereby give notice that they

have not reached an agreement regarding monitoring or

the PLRA.”).           Nonetheless, the evidentiary hearing set

to begin on April 13, 2020 was continued generally in

light     of     the     current     outbreak        of    the    Coronavirus

Disease (COVID-19) and the rapidly evolving threat to

health     and    safety.          See       Phase    2A    Revised    Remedy

Scheduling Order (doc. no. 2784).                    In light of the fact

that the court’s time-limited PLRA finding was set to

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expire on May 11, 2020, and thus the parties’ relevant

stipulations would be unenforceable after May 11, 2020,

the court ordered the parties to file joint or separate

statements       on     how,     if    at   all,     each    stipulation’s

compliance       with    the    PLRA    should     be     extended   in     the

interim.         See    id.     The    parties     now    agree    that     the

stipulations       and       associated     orders       “shall   remain    in

effect pending the Court’s resolution of whether they

comply     with        the     PLRA    need-narrowness-intrusiveness

requirement, but no longer than nine (9) months from

[March 30, 2020].” Joint Request to Extend Phase 2A

Remedial Orders (doc. no. 2790) at 1-2.                            The court

interprets “nine (9) months from [March 30, 2020]” to

refer to December 30, 2020, but the parties can correct

the court if necessary.

    Accordingly, it is the ORDER, JUDGMENT, and DECREE

of the court that defendants Jefferson Dunn and Ruth

Naglich    are    ENJOINED       and    RESTRAINED        from    failing    to

comply with the following orders, as identified by the

parties, until this court enters an opinion regarding

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their compliance with the PLRA or until December 30,

2020, whichever is earlier:

  (1)     Order Re: Segregation Remedy (doc. no. 1720);

    and

  (2)     Order     and     Injunction     Re:     Bibb     Segregation

    Remedy (doc. nos. 1751 & 1751—1); and

  (3)     Order       and      Injunction        on       Mental-Health

    Identification and Classification Remedy (Coding)

    (doc. nos. 1792 & 1792-1); and

  (4)     Order       and      Injunction        on       Mental-Health

    Identification and Classification Remedy (Intake)

    (doc. nos. 1794 & 1794—1); and

  (5)     Order     and     Injunction     on    Segregation      Remedy

    (Pre-Placement,          Mental-Health        Rounds,      Periodic

    Evaluations) (doc. nos. 1815 &               1815-1); and

  (6)     Order       and      Injunction        on       Mental-Health

    Identification and Classification Remedy (Referral)

    (doc. nos. 1821, 1821-1, & 1821-2); and

  (7)     Order     and     Injunction     on    Segregation      Remedy

    (Stopgap Measures for Removing Inmates with Serious

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    Mental Illness from Segregation (doc. nos. 1861 &

    1861-1); and

  (8)    Order       and     Injunction         on     Mental-Health

    Individualized Treatment Planning Remedy (doc. nos.

    1865 & 1865-1); and

  (9)    Order       and     Injunction         on     Mental-Health

    Psychotherapy and Confidentiality Remedy (doc. nos.

    1899 & 1899-1); and

  (10)   Order and Injunction on Confidentiality (doc.

    nos. 1900, 1900-1, & 1900-2); and

  (11)   Order       and     Injunction         on     Mental-Health

    Understaffing (doc. nos. 2301 & 2301-1); and

  (12)   Opinion and Interim Injunction with Regard to

    Stipulation      on    Provision     of    Hospital-Level        Care

    (doc. nos. 2717 & 2724-1); and

  (13)   Opinion and Interim Injunction with Regard to

    Stipulation     on     Mental-Health       Consultation     to      the

    Disciplinary Process (doc. nos. 2718 & 2725-1).

    It   is    further      ORDERED     that    the    court     finds,

pursuant to the parties’ agreement (doc. nos. 2790), as

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well     as    the   court’s     detailed     prior     review    of    each

stipulation in open court, that the relief in each of

the      above       13    stipulations,         separately       and       in

conjunction with all other relief so far in this case,

meets the “need-narrowness-intrusiveness” requirements

of     the     Prison     Litigation       Reform     Act    (PLRA),        18

U.S.C. § 3626(a)(1)(A), for the period from the date of

this court order until either the Court’s resolution of

whether           they        comply         with         the        PLRA’s

need-narrowness-intrusiveness              requirement       or   December

30, 2020, whichever is earlier.

       DONE, this the 31st day of March, 2020.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE




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